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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

SHANTAIL POLK, for herself and on behalf of her minor )
daughter, D’NIYA TONEY and DONNIE TONEY,              )
                                                      )
                    Plaintiffs,                       )   No.   19cv3756
                                                      )
              v.                                      )
                                                      )
C.P.O. ANDREW BRAUN, STAR #4076; C.P.O.               )   Judge Kennelly
ARTURO FONSECA, STAR #10739; C.P.O. SCOTT             )
DIGRAZIA, STAR #10529; C.P.O. CRAIG LAIDLAW, )            Mag. Judge Harjani
STAR #17695; C.P.O. ROBERT E. GALLAS, STAR            )
#17815; C.P.O. ARMANDO UGARTE, STAR #15050; )
C.P.O. SEAN S. BRANDON, STAR #18866; C.P.O. JOHN)
P. DOLAN, STAR #7722; C.P.O. ROBERT J.                )
McCALLUM, STAR #15180; C.P.O. EDUARDO                 )
ALMANZA, STAR #15464; C.P.O. VERNON                   )
MITCHELL, JR., STAR #15580; C.P.O. DANIEL             )
DeLOPEZ, STAR #15612; C.P.O. DAVID S. MAGANA, )
STAR #7098; C.P.O. EDMUND F. ZABLOCKI, STAR )
#7505; CHICAGO POLICE SGT. WALTER T. CHUDZIK,)
STAR #2273; C.P.O. JEFFREY W. JONES, JR., STAR        )
#4933; C.P.O. GARY M. ANDERSON, STAR #6369;           )
C.P.O. PATRICK McDONOUGH, STAR #14416; C.P.O. )
ADRIAN VIVANCO, STAR #17269; C.P.O. WARREN )
D. JOHNSON, STAR #17442; C.P.O. HUMBERTO G.           )
GUTIERREZ, STAR#9690; CHICAGO POLICE SGT.             )
ANGELO J. MONACO, STAR #1595; Individually and )
as Employees/Agents of the City of Chicago; and THE   )
CITY OF CHICAGO, a Municipal Corporation,             )   Jury Demanded
                                                      )
                    Defendants.                       )

                      FIRST AMENDED COMPLAINT AT LAW

      NOW COME the PLAINTIFFS, SHANTAIL POLK, for herself and on behalf of her minor

daughter, D’NIYA TONEY and DONNIE TONEY, by their attorneys, THE LAW OFFICES OF

JEFFREY J. NESLUND, complaining of the DEFENDANTS, CHICAGO POLICE OFFICERS

ANDREW BRAUN, STAR #4076; ARTURO FONSECA, STAR #10739; SCOTT DIGRAZIA,
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STAR #10529; CRAIG LAIDLAW, STAR #17695; ROBERT E. GALLAS, STAR #17815;

ARMANDO UGARTE, STAR #15050; SEAN S. BRANDON, STAR #18866; JOHN P. DOLAN,

STAR #7722; ROBERT J. McCALLUM, STAR #15180; EDUARDO ALMANZA, STAR

#15464; VERNON MITCHELL, JR., STAR #15580; DANIEL DeLOPEZ, STAR #15612;

DAVID S. MAGANA, STAR #7098;                   EDMUND F. ZABLOCKI, STAR #7505; SGT.

WALTER T. CHUDZIK, STAR #2273; JEFFREY W. JONES, JR., STAR #4933; GARY M.

ANDERSON, STAR #6369; PATRICK McDONOUGH, STAR #14416; ADRIAN VIVANCO,

STAR #17269; WARREN D. JOHNSON, STAR #17442; HUMBERTO G. GUTIERREZ, STAR

#9690; SGT. ANGELO J. MONACO, STAR #1595, individually and as employees/agents of the

City of Chicago and     THE CITY OF CHICAGO, a Municipal Corporation, and pleading in the

alternative, state as follows:

                                         INTRODUCTION

        1.      This is an action for civil damages under 42 U.S.C. Sec. 1983 for the deprivation of

PLAINTIFFS’ constitutional rights. This Court has jurisdiction pursuant to 28 U.S.C. Sec. 1331, 1343

and 1367.

        2.      Venue in this district is proper pursuant to 28 U.S.C. § 1391 (b), because the facts

that give rise to the claims asserted herein occurred in the Northern District of Illinois.

        3.       PLAINTIFFS, SHANTAIL POLK, D’NIYA TONEY, a minor and DONNIE

TONEY, are individuals who at all times relevant hereto were present in the Northern District of

Illinois.

        4.      DEFENDANTS, CHICAGO POLICE OFFICERS ANDREW BRAUN, STAR

#4076; ARTURO FONSECA, STAR #10739; SCOTT DIGRAZIA, STAR #10529; CRAIG

LAIDLAW, STAR #17695; ROBERT E. GALLAS, STAR #17815; ARMANDO UGARTE,
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STAR #15050; SEAN S. BRANDON, STAR #18866; JOHN P. DOLAN, STAR #7722; ROBERT

J. McCALLUM, STAR #15180; EDUARDO ALMANZA, STAR #15464; VERNON

MITCHELL, JR., STAR #15580; DANIEL DeLOPEZ, STAR #15612; DAVID S. MAGANA,

STAR #7098;      EDMUND F. ZABLOCKI, STAR #7505; SGT. WALTER T. CHUDZIK, STAR

#2273; JEFFREY W. JONES, JR., STAR #4933; GARY M. ANDERSON, STAR #6369;

PATRICK McDONOUGH, STAR #14416; ADRIAN VIVANCO, STAR #17269; WARREN D.

JOHNSON, STAR #17442; HUMBERTO G. GUTIERREZ, STAR #9690; SGT. ANGELO J.

MONACO, STAR #1595, were at all times material hereto, duly appointed Chicago Police

Officers employed by the City of Chicago acting in the capacity of sworn law enforcement

officials.

        5.      The DEFENDANT, City of Chicago (hereinafter “CITY”), at all relevant times,

was an Illinois Municipal Corporation, duly chartered and organized under the Laws of the State

of Illinois, located entirely within this Judicial District.

                                           FACTUAL SUMMARY

October 17, 2017 – Arrest of Donnie Toney

        6.      On October 17, 2017, DEFENDANT OFFICERS BRAUN, FONSECA,

DEGRAZIA and LAIDLAW unlawfully detained and searched PLAINTIFF, DONNIE TONEY,

in the vicinity of 6722 S. East End Avenue in Chicago.

        7.      DEFENDANT OFFICERS BRAUN, FONSECA, DEGRAZIA and LAIDLAW

unlawfully detained and searched PLAINTIFF, DONNIE TONEY, despite the fact they did not

have probable cause to believe he had committed or was going to commit a criminal offense.




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       8.      DEFENDANT OFFICERS BRAUN, FONSECA, DEGRAZIA and LAIDLAW

fabricated evidence against the PLAINTIFF TONEY in order to charge him with felony narcotic

offenses in Cook County case number 17 CR 16956.

       9.      As a result of the DEFENDANT OFFICERS’ misconduct, PLAINTIFF, DONNIE

TONEY, was incarcerated and deprived of his liberty.

March 6, 2018 - Search Warrant 18SW5316

       10.     On and before March 6, 2018, PLAINTIFFS TONEY & POLK resided with their

minor daughter, D’Niya Toney, in the basement apartment at 6748 S. Ridgeland Avenue in

Chicago.

       11.     DEFENDANT OFFICER ROBERT E. GALLAS, STAR #17815, also the Affiant

of the March 6, 2018 search warrant, along with DEFENDANT OFFICERS SEAN S. BRANDON,

STAR #18866; JOHN P. DOLAN, STAR #7722; ROBERT J. McCALLUM, STAR #15180;

EDUARDO ALMANZA, STAR #15464; VERNON MITCHELL, JR., STAR #15580; DANIEL

DeLOPEZ, STAR #15612; DAVID S. MAGANA, STAR #7098;                   EDMUND F. ZABLOCKI,

STAR #7505 (collectively referred to as “DEFENDANT OFFICERS from search warrant

18SW5316”) were part of a team in the narcotics division of the Chicago Police Department under

the supervision of DEFENDANT SGT. WALTER T. CHUDZIK, STAR #17689.

       12.     On or about March 6, 2018, DEFENDANT OFFICER GALLAS, STAR #17815

provided false and unreliable information to a Cook County Judge in order to obtain search warrant

18SW5316 for the basement apartment at 6748 S. Ridgeland Avenue.

       13.     DEFENDANT OFFICER GALLAS knowingly withheld or fabricated information

in order to obtain judicial authority to search the PLAINTIFFS’ home on March 6, 2018.


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       14.    On or about March 6, 2018, DEFENDANT OFFICERS from Search Warrant

18SW5316 executed the search warrant in an unreasonable and violent manner, breaking down

the door pointing weapons at the PLAINTIFFS and needlessly destroying personal property of the

PLAINTIFFS.

       15.    The PLAINTIFFS also had a young puppy, Duce, who was present at the time the

DEFENDANT OFFICERS from Search Warrant 18SW5316 executed the search warrant on

March 6, 2018.

       16.    The puppy did not pose any threat to the DEFENDANT OFFICERS from Search

Warrant 18SW5316, who placed the puppy into the bathroom without incident.

       17.    DEFENDANT OFFICERS from Search Warrant 18SW5316did not record their

conduct during the execution of the search warrant 18SW5316 with body worn cameras.

       18.    DEFENDANT OFFICERS from Search Warrant 18SW5316 did not arrest anyone

after executing the search warrant on March 6, 2018.

April 25, 2018 – Search Warrant 18SW6390

       19.    On April 24, 2018, the Cook County State’s Attorneys’ Office dismissed all

criminal charges in case number 17CR16956 after a Cook County Judge found that DEFENDANT

OFFICERS BRAUN, FONSECA, DEGRAZIA and LAIDLAW did not have probable cause to

arrest PLAINTIFF, DONNIE TONEY on October 17, 2017.

       20.    DEFENDANT OFFICER ARMANDO UGARTE, STAR #15050, also the Affiant

of the April 25, 2018 search warrant, along with DEFENDANT OFFICERS JEFFREY W. JONES,

JR., STAR #4933; GARY M. ANDERSON, STAR #6369; PATRICK McDONOUGH, STAR

#14416; ADRIAN VIVANCO, STAR #17269; WARREN D. JOHNSON, STAR #17442;

HUMBERTO G. GUTIERREZ, STAR #9690 (collectively referred to as DEFENDANT
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OFFICERS from Search Warrant 18SW6390) were part of a team in the narcotics division of the

Chicago Police Department under the supervision of DEFENDANT SGT. ANGELO J.

MONACO, STAR #1595.

       21.     The very next day, on April 25, 2018, DEFENDANT OFFICER ARMANDO

UGARTE, STAR #15050 knowingly used false and unreliable information to obtain another

search warrant, 18SW6390, for the basement apartment at 6748 S. Ridgeland Avenue.

       22.     DEFENDANT OFFICER ARMANDO UGARTE, STAR #15050 knowingly

withheld or fabricated information in order to obtain judicial authority to search the PLAINTIFFS’

home on April 25, 2018.

       23.     On April 25, 2018, moments after PLAINTIFF, DONNIE TONEY, left the

basement apartment, DEFENDANT OFFICERS from Search Warrant 18SW6390 executed search

warrant 18SW6390 in an unreasonable fashion, again breaking down the door and needlessly

destroying personal property of the PLAINTIFFS.

       24.     During the execution of the search warrant, DEFENDANT OFFICERS from

Search Warrant 18SW6390 shot PLAINTIFFS’ puppy, Duce, multiple times.

       25.     One or more of the DEFENDANT OFFICERS from Search Warrant 18SW6390

first shot the puppy near the front door, then followed the injured dog into the kitchen.   One or

more of the DEFENDANT OFFICERS from Search Warrant 18SW6390 shot the helpless puppy

again as the dog tried to hide under the kitchen table.

       26.        One or more of the DEFENDANT OFFICERS from Search Warrant 18SW6390

shot the puppy multiple times, despite the fact the young dog was not aggressive or a threat to

anyone.


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         27.   One or more of the DEFENDANT OFFICERS from Search Warrant 18SW6390

pointed their weapons at PLAINTIFF, SHANTAIL POLK and her minor daughter, D’NIYA

TONEY, and questioned her while they watched their puppy die on the floor.

         28.   DEFENDANT OFFICERS from Search Warrant 18SW6390 did not record their

conduct during the execution of search warrant 18SW6390 on any Body Worn cameras.

         29.   DEFENDANT OFFICERS from Search Warrant 18SW6390 did not arrest anyone

following the execution of search warrant 18SW6390 on April 25, 2018.

         30.   On information and belief, the DEFENDANT OFFICERS from Search Warrant

18SW6390 raided the PLAINTIFFS’ home and executed their puppy in retaliation for the

dismissal of all the criminal charges against PLAINTIFF DONNIE TONEY the previous day.

                                          COUNT I
                      42 U.S.C. § 1983: False Arrest/Unlawful Detention
          (Against Defendant Officers BRAUN, FONSECA, DEGRAZIA and LAIDLAW)

         31.   PLAINTIFFS re-allege and incorporate the factual allegations in paragraphs 1-30

above.

         32.   As described above, on October 17, 2017 DEFENDANT OFFICERS BRAUN,

FONSECA, DEGRAZIA and LAIDLAW unlawfully detained PLAINTIFF, DONNIE TONEY,

without justification and without probable cause.

         33.   The misconduct described in this Count was undertaken with malice, willfulness,

 and reckless indifference to the rights of the PLAINTIFF, DONNIE TONEY.

         34.   As a result of the above-described wrongful infringement of PLAINTIFF,

DONNIE TONEY’S rights, PLAINTIFF DONNIE TONEY suffered damages, including, but not

limited to, physical incarceration and severe emotional and mental distress and anguish.


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                                         COUNT II
                    Fourth Amendment Claim for Deprivation of Liberty
          (Against Defendant Officers BRAUN, FONSECA, DEGRAZIA and LAIDLAW)

         35.   PLAINTIFFS re-allege and incorporate the factual allegations in paragraphs 1-30

above.

         36.   As a result of evidence fabricated by the DEFENDANT OFFICERS BRAUN,

FONSECA, DEGRAZIA and LAIDLAW in connection with his arrest on October 17, 2017,

PLAINTIFF, DONNIE TONEY, was deprived of his liberty until all criminal charges were

dismissed on April 24, 2018.

         37.   But for the misconduct of the DEFENDANTS outlined above, the PLAINTIFF,

DONNIE TONEY, would not have suffered a deprivation of his liberty.

         38.   The misconduct of the DEFENDANTS outlined above proximately caused injury

to the PLAINTIFF, DONNIE TONEY, including, but not limited to prolonged incarceration,

humiliation, embarrassment and severe emotional distress related to his incarceration and

prosecution for false criminal charges fabricated by the Defendants.

                                       COUNT III
                              Unlawful Search and Detention
    (Against Defendant Officers GALLAS; BRANDON; DOLAN; McCALLUM; ALMANZA;
         MITCHELL, JR.; DeLOPEZ; MAGANA; ZABLOCKI and SGT. CHUDZIK)

         39.   PLAINTIFFS re-allege and incorporate the factual allegations in paragraphs 1-30

above.

         40.   As more fully described above, DEFENDANT OFFICERS ROBERT E. GALLAS;

SEAN S. BRANDON, STAR #18866; JOHN P. DOLAN, STAR #7722; ROBERT J.

McCALLUM, STAR #15180; EDUARDO ALMANZA, STAR #15464; VERNON MITCHELL,

JR., STAR #15580; DANIEL DeLOPEZ, STAR #15612; DAVID S. MAGANA, STAR #7098;

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EDMUND F. ZABLOCKI, STAR #7505 and SGT. WALTER T. CHUDZIK, STAR #2273

entered, detained and searched PLAINTIFFS, SHANTAIL POLK and DONNIE TONEY on

March 6, 2018 without any legal justification, in violation of the Fourth Amendment to the United

States’ Constitution.

         41.   DEFENDANT OFFICERS’ ROBERT E. GALLAS; SEAN S. BRANDON, STAR

#18866; JOHN P. DOLAN, STAR #7722; ROBERT J. McCALLUM, STAR #15180; EDUARDO

ALMANZA, STAR #15464; VERNON MITCHELL, JR., STAR #15580; DANIEL DeLOPEZ,

STAR #15612; DAVID S. MAGANA, STAR #7098;               EDMUND F. ZABLOCKI, STAR #7505

and SGT. WALTER T. CHUDZIK, STAR #2273 search of the PLAINTIFFS’ home was violent,

excessive and unreasonable in violation of the PLAINTIFFS’ Fourth Amendment Right to the

United States’ Constitution.

         42.   As a direct and proximate result of the illegal search and detention of PLAINTIFFS

and their home, PLAINTIFFS, SHANTAIL POLK and DONNIE TONEY have suffered damages

including, but not limited, to property damage, property loss and physical and emotional distress.

                                      COUNT IV
                             Unlawful Search and Detention
(Against Defendant Officers UGARTE, JONES, JR.; ANDERSON; McDONOUGH; VIVANCO;
                      JOHNSON; GUTIERREZ; and SGT. MONACO)

         43.   PLAINTIFFS re-allege and incorporate the factual allegations in paragraphs 1-30

above.

         44.   As more fully described above, DEFENDANT OFFICERS ARMANDO

UGARTE, STAR #15050; JEFFREY W. JONES, JR., STAR #4933; GARY M. ANDERSON,

STAR #6369; PATRICK McDONOUGH, STAR #14416; ADRIAN VIVANCO, STAR #17269;

WARREN D. JOHNSON, STAR #17442; HUMBERTO G. GUTIERREZ, STAR #9690 and

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SGT. ANGELO J. MONACO, STAR #1595 entered, detained and searched PLAINTIFF,

SHANTAIL POLK and her home on April 25, 2018 without any legal justification, in violation of

the Fourth Amendment to the United States’ Constitution.

         45.   DEFENDANTS OFFICERS’ ARMANDO UGARTE, STAR #15050; JEFFREY

W. JONES, JR., STAR #4933; GARY M. ANDERSON, STAR #6369; PATRICK

McDONOUGH, STAR #14416; ADRIAN VIVANCO, STAR #17269; WARREN D. JOHNSON,

STAR #17442; HUMBERTO G. GUTIERREZ, STAR #9690 and SGT. ANGELO J. MONACO,

STAR #1595 search of PLAINTIFFS’ home was violent, excessive and unreasonable in violation

of PLAINTIFFS’ Fourth Amendment Right to the United States’ Constitution.

         46.   As a direct and proximate result of the illegal search and detention of PLAINTIFF,

SHANTAIL POLK and her home, PLAINTIFF, SHANTAIL POLK has suffered damages

including, but not limited, to property damage, property loss and emotional distress.

                                       COUNT V
                  42 U.S.C. § 1983: Fourth Amendment – Illegal Seizure
 (Against Defendant Officer UGARTE, JONES, JR.; ANDERSON; McDONOUGH; VIVANCO;
                       JOHNSON; GUTIERREZ; and SGT. MONACO)

         47.   PLAINTIFFS re-allege and incorporate the factual allegations in paragraphs 1-30

above.

         48.   The execution of PLAINTIFFS’ puppy Duce, on April 26, 2018, constitutes a

seizure and violated PLAINTIFFS’ Fourth Amendment right to be free of unreasonable seizures.

         49.   The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with willful indifference to PLAINTIFFS’ constitutional rights.

         50.   As a result of the DEFENDANT OFFICERS’ illegal seizure, PLAINTIFFS

suffered injury, including emotional anguish, pain, suffering, and the loss of their puppy, Duce.

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                                         COUNT VI
                                 42 U.S.C. § 1983: Conspiracy

         51.   PLAINTIFFS re-allege and incorporate the factual allegations in paragraphs 1-30

above.

         52.   The individual Defendants, acting together and under color of law, reached an

understanding and agreement, engaged in a course of conduct, and otherwise conspired among and

between themselves to violate the PLAINTIFFS’ constitutional rights by raiding the

PLAINTIFFS’ home in an unreasonable and violent manner on multiple occasions.

         53.   As a proximate result of the misconduct described herein and above, the

PLAINTIFFS have suffered and will in the future continue to suffer injuries of a personal and

pecuniary nature.



                                         COUNT VII
                                      MONELL CLAIM
                                  (Defendant City of Chicago)

         54.   PLAINTIFFS re-allege and incorporate the factual allegations in paragraphs 1-30

above.

         55.   At all relevant times, DEFENDANT CITY OF CHICAGO, by and through its

employees and agents of the Chicago Police Department, maintained official policies, customs and

practices that facilitated and condoned the DEFENDANTS’ misconduct outlined above, as well

as the DEFENDANT OFFICERS’ use of excessive force in pointing guns at the minor D’NIYA

TONEY and needlessly shooting her puppy, Duce.

         56.   Before the illegal search of PLAINTIFFS’ home and destruction of their personal

property, including the death of their puppy, policy makers for the City of Chicago knew that the

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Chicago Police Department’s policies, customs and practices for search warrants in the homes of

private citizens were inadequate and resulted in a systemic violation of citizens’ constitutional

rights.

          57.   The actions of DEFENDANT OFFICERS were done pursuant to one or more of

the following de facto policies, practices and/or customs of the CITY that are so pervasive that

they carry the force of law:

          a)    failing to make reasonable efforts to corroborate or properly investigate
                information provided by informants;

          b)    fabricating or concealing material information in order to obtain warrants;

          c)    exceeding judicial authority by executing every warrant as if it were a “no
                knock” warrant without providing residents a realistic opportunity to open
                the door and thereby needlessly destroying private property;

          d)    failing to record the execution of search warrants with body worn cameras
                in order to hold officers accountable and deter misconduct during the
                execution of search warrants;

          e)    failing to maintain or utilize a valid system to prevent repeat search
                warrants and raids at the same residence by different Chicago Police
                Department (“CPD”) units which are used to harass, retaliate and/or abuse
                civilians, including the PLAINTIFFS;

          f)    failing to place official priority on avoiding unnecessary uses of force
                against young children, their adult relatives in the children’s presence, or
                their pets. CPD’s official use-of-force policy lacked any requirement or
                guidance for officers to avoid using unnecessary or excessive force against
                young children, their adult relatives in the children’s presence or pets,
                when possible. CPD’s search warrant policy and related policies failed
                to require officers seeking or executing residential search warrants to
                make reasonable efforts before obtaining and/or executing a warrant to
                determine, through investigation and surveillance, (a) whether children or
                pets reside in the residence; (b) to avoid entry and search at times when
                children are likely to be present; or (c) to de-escalate themselves or change
                tactics when they encounter young children or dogs in a residence.

          g)    failing to maintain and/or utilize a valid early warning system which
                would have identified DEFENDANT OFFICER ARMANDO UGARTE
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               as an officer with repeated offenses alleged against him and led to the
               proper discipline, re-training, supervising or other intervention into his
               behavior, even though DEFENDANT CITY OF CHICAGO knew or
               should have known that its system did not work and/or was not proper and
               has paid out almost $5 million dollars in judgments and settlements in at
               least eight (8) federal lawsuits against DEFENDANT UGARTE for
               misconduct, including the use of deadly force (10cv5076).

       h)      Finally, the CITY has a de facto policy, practice and/or custom known as a
               “code of silence” within the Chicago Police Department. This code
               acknowledged by former Mayor Rahm Emanuel and current Mayor Lori
               Lightfoot’s 2016 Task Force on Police Accountability, is an implicit
               understanding between and among members of the CPD resulting in a
               refusal or failure to report instances of misconduct of which they are
               aware, including the abuse of police powers to violate the constitutional
               rights of citizens despite their obligation to do so as sworn officers. This
               includes police officers who remain silent or give false or misleading
               information during official investigations into allegations of a fellow
               officer related to misconduct that occurred in order to protect themselves
               or their fellow officers from discipline, criminal prosecution or civil
               liability.

       58.     As a result of the deficient policies and procedures outlined above, Chicago police

officers routinely execute search warrants at the homes of innocent civilians, needlessly destroying

private property, including pets that pose no threat to the officers, pointing weapons at young

children and thereby causing traumatic stress and anxiety to the occupants, such as the

PLAINTIFFS.

       59.     The DEFENDANT CITY has been on notice of these deficient policies and

procedures for years and paid out substantial verdicts and settlements from federal lawsuits

regarding misconduct by officers in obtaining and/or executing search warrants.     For example:

               a)      case number 06cv00696 regarding a search warrant executed at 2321 N.

Harding in Chicago on April 15, 2005;

               b)      case number 09cv01958 regarding a search warrant executed at 9429 S.

Loomis Street in Chicago on February 18, 2009;
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              c)      case number 11cv-7171 regarding a search warrant executed at 6511 N.

Nordica Avenue in Chicago on October 19, 2010;

              d)      case number 08cv4483 regarding a search warrant executed at 5748 West

64th Street in Chicago on August 7, 2007;

              e)      case number 17cv7391 regarding a search warrant executed at 7827 S.

Honore Street in Chicago on October 17, 2015; and

              f)      case number 10cv0625 regarding the execution of a search warrant in

Chicago, Illinois on February 27, 2009.

       60.    All of these lawsuits either settled or went to trial with verdicts for the plaintiffs

and put the DEFENDANT CITY on notice regarding failed policies, practices and customs

regarding the execution of search warrants.   Despite the CITY’s knowledge of the City’s failed

policies, practices and customs, the policymakers failed to take action to remedy these systemic

problems.

       61.    The aforementioned de facto practices, policies, and customs of DEFENDANTS,

individually and collectively, have been maintained and/or implemented with utter indifference by

DEFENDANTS, and have encouraged and/or motivated DEFENDANT OFFICERS to commit the

wrongful act against PLAINTIFFS outlined above including the unnecessary and excessive force

of pointing weapons at minor D’NIYA TONEY and in killing PLAINTIFFS’ puppy, and therefore

acted as the direct and proximate causes and moving force behind the injuries sustained by

PLAINTIFFS.

                                        COUNT VIII
                                    INDEMNIFICATION
                                  (Defendant City of Chicago)

       62.    PLAINTIFFS re-allege and incorporate the factual allegations in paragraphs 1-30
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above.

           63.   In Illinois, public entities are directed to pay any tort judgment for compensatory

damages for which employees are liable within the scope of their employment activities. 735 ILCS

10/9-102.

           64.   The DEFENDANT OFFICERS are or were employees of the CITY of CHICAGO

and acted within the scope of their employment in committing the misconduct described herein.

                                     REQUEST FOR RELIEF

           65.    PLAINTIFFS SHANTAIL POLK, D’NIYA TONEY, a minor and DONNIE

TONEY respectfully requests that the Court:

                 a.     Enter a judgment in her favor and against all DEFENDANTS;

                 b.     Award compensatory damages and costs against all DEFENDANTS;

                 c.     Award attorney’s fees against all DEFENDANTS;

                 d.     Award punitive damages against all individual DEFENDANTS; and

                 e.     Grant any other relief this Court deems just and appropriate.

                                         JURY DEMAND

           66.   PLAINTIFFS, SHANTAIL POLK, D’NIYA TONEY, a minor and DONNIE

TONEY, demand a trial by jury under the Federal Rule of Civil Procedure 38(b) on all issues so

triable.

                                               Respectfully submitted,

                                               /s/ Jeffrey J. Neslund
                                               Attorney for Plaintiffs
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